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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

CAROL HUBBARD,

                  Plaintiff,

         vs.                                                             Civ. No. 17-763 KK/JHR

J MESSAGE GROUP CORP.,
a Vermont corporation, KENNETH
CHARLES ALEXANDER and
DEBORAH SUE ALEXANDER,
Husband and Wife,

                  Defendants.


                     MEMORANDUM OPINION AND ORDER GRANTING
                         DEFENDANTS’ MOTION TO DISMISS1

         THIS MATTER is before the Court on Defendants’ Rule 12(b)(6) Motion to Dismiss

With Supporting Memorandum (Doc. 19) (“Motion”), filed November 16, 2017. Plaintiff filed a

Response on January 24, 2018 (Doc. 32).2,              3
                                                           Defendants filed a Reply on January 16, 2018

(Doc. 28). The Court, having reviewed the parties’ submissions and the relevant law, and being

otherwise fully advised in the premises, finds that the motion is well taken and shall be

GRANTED.

                                                BACKGROUND




1
 Pursuant to 28 U.S.C. § 636(c), the parties consented to the undersigned to conduct any or all proceedings, and to
enter an order of judgment, in this case. (Docs. 16, 17, 18.)
2
  Plaintiff initially filed a Response on December 18, 2017, that was stricken from the record. (Doc. 22.) Plaintiff
refiled her Response on January 24, 2018. (Doc. 32.)
3
  Plaintiff attached a Declaration and two exhibits to her Response. (Docs. 32-1, 32-2, 32-3.) These attachments
were not referred to or incorporated by reference to Plaintiff’s Amended Complaint and have not been considered in
the Court’s ruling on Defendants’ Motion to Dismiss.

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         For the purpose of ruling on Defendants’ Motion, the Court assumes that the following

well-pled facts taken from Plaintiff’s Amended Complaint are true.4 Mayfield v. Bethards, 826

F.3d 1252, 1255 (10th Cir. 2016) (“[I]n reviewing a motion to dismiss, [the Court] accept[s] the

facts alleged in the complaint as true and views them in the light most favorable to the

plaintiff.”). Defendant J Message Group Corp. (“JMGC”), also called Companions of Wisdom

(“CoW”) is a closed, invitation-only, nonprofit organization, incorporated under the laws of the

State of Vermont, with its principal place of business in Vermont. (Doc. 15 at ¶ 10.) Defendant

Kenneth Alexander and Defendant Deborah Alexander (husband and wife) are officers and

directors of JMGC, and they are citizens of the State of Washington. (Id. at ¶¶ 10, 12.)

Defendants conduct fee-based seminars and conferences and develop written materials to

promote their reincarnation-based doctrines, worldview, and advocacy agenda to its members

and to those interested in engaging in its programs. (Id. at ¶¶ 11, 20.) Plaintiff, a citizen of the

State of Virginia, met and became acquainted with the Alexanders and with JMGC in 2008, and

she began paying to attend JMGC’s conferences. (Id. at ¶ 20.) The actions giving rise to this

lawsuit occurred during a JMGC conference held in Santa Fe, New Mexico. (Id. at ¶¶ 6, 34-35.)

         Defendants promote the belief that people have past lives that influence their current life

and, as noted earlier, Defendants develop written materials to promote their reincarnation-based

doctrines, worldview, and advocacy agenda to the organization’s members. (Id. at ¶¶ 11, 14) As

part of the CoW program, Defendants hold seminars and issue publications to the members of



4
  Although a court must generally take the allegations in a complaint as true, no matter how skeptical the court may
be, “[t]he sole exception to this rule lies with allegations that are sufficiently fantastic to defy reality as we know
it[,]” for example, those related to “experiences in time travel.” Iqbal, 556 U.S. at 696, Souter, J. dissenting; Valdez
v. Nat’l Sec. Agency, 228 F.Supp.3d 1271, 1280 (D. Utah 2017) (“At the pre-discovery motion to dismiss stage, [the
district court] must assume the truth of well-pleaded factual allegations that are not simply legal conclusions or bare
assertions of the elements of a claim—so long as the allegations do not defy reality as we know it[.]”)



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JMGC. (Id. at ¶¶ 11, 30.) JMGC is authoritarian in nature and does not permit dissent or

questions regarding its doctrines or leadership. (Id. at ¶ 12.)

       Mr. Alexander is the “spiritual leader” of JMGC. (Id. at ¶ 12.) Mr. Alexander compels

the members of JMGC to adopt the organization’s reincarnation doctrines and hierarchical

structure. (Id. at ¶¶ 12, 14.) Mr. Alexander claims to channel communications from higher

beings or master guides, which communications include instructions and beliefs that are binding

on the members of JMGC. (Id. at ¶ 13.)

       JMGC lures people who are looking for spiritual direction and altruistic involvement by

initially promoting self-improvement and by engaging its members in discussions and providing

publications relating to broader contemporary topics such as history, economics, and spiritual

development. (Id. at ¶ 15.) When prospective members wish to advance their association with

JMGC and share details of their personal lives with Defendants, Defendants collectively engage

in a process designed to control, isolate, shame, emotionally harm, and take advantage of the

prospective members, which process is contrary to JMGC’s “self-improvement banner.” (Id. at ¶

16.)   Members who dissent or question the leadership’s directives become the targets of

“shaming conduct”—meaning that Defendants “collectively disseminate false information

coupled with outrageous accusations, in CoW communications, designed solely to cause

dissenting members substantial emotional and psychological trauma.” (Id. at ¶ 17.) Dissenting

members are subjected to this “shaming conduct” until they recant their dissent or quit the

organization. (Id. at ¶ 19.)

       As Plaintiff’s involvement in JMGC increased, Plaintiff had questions about

JMGC/CoW’s operations and beliefs. (Id. at ¶ 21) Defendants did not like Plaintiff’s inquiring

nature and resistance to questionable directions, and they collectively engaged in a campaign to



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discredit her, and to cause problems in her personal life and to her professional reputation. (Id. at

¶¶ 22, 23.) On one occasion, Plaintiff—who is a government contractor with a high-level

security clearance, having attended a CoW conference abroad asked Mrs. Alexander for the

name and sponsor of the conference so that she could provide that information on a United States

Government security clearance application as required by her employer. (Id. at ¶ 24.) Mrs.

Alexander demanded that Plaintiff refrain from disclosing the fact that she had travelled overseas

to attend the CoW conference, and insisted that Plaintiff lie to the federal government about the

purpose of her travel under threat of “severe consequences” if she did not comply with this

directive. (Id. ¶ 25.) Plaintiff refused to comply with Mrs. Alexander’s directive to lie to the

federal government on the ground that any act of dishonesty or misconduct could compromise

her professional credentials and her job. (Id. ¶ 27) This notwithstanding, Mrs. Alexander

continued to urge Plaintiff to lie, and Plaintiff continued to refuse to do so. (Id.) In retaliation

for Plaintiff’s refusal to lie on her security clearance application, Defendants published

“Communication 17” (dated February 12-13, 2016) to its membership, stating that: “she

[Plaintiff] has a split who is a porn star and is seen doing sex acts with her husband. That is all

she does . . . the Hubbard Soul has been part of several sex cults, including the Manson cult.”

(Id. at ¶ 28 (italics omitted).)

        In a further act of retaliation, Mr. Alexander began interfering with Plaintiff’s personal

relationship by urging her then fiancée (now husband) Ken Kyzer to break off his relationship

with Plaintiff because she was a destructive influence. (Doc. 15 at ¶ 29.) Defendant Kenneth

Alexander told Ken Kyzer that if he were going to be a committed partner associated with CoW,

he would have to end his relationship with Plaintiff. (Id.) Because Mr. Kyzer refused to end his

relationship with Plaintiff, Defendants terminated Plaintiff’s membership in JMGC/CoW,



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thereby prohibiting Plaintiff from reading Mr. Alexander’s channeled communications, and also

prohibiting her from attending Defendant’s conferences or events. (Doc. 15 at ¶ 30.)

       Thereafter, (from February 25, 2016 through February 28, 2016) Defendants held a

JMGC/CoW conference in Santa Fe, New Mexico. (Id. at ¶ 31.) During this conference,

Defendants presented the following statements about Plaintiff to the membership of JMGC:

       a.     Recently, we had to discontinue the access for one aspect of that soul
              [Carol Hubbard]. And why is that? Because . . . they were very
              predatory in this group.

       b.     Sandra Otterson, another famous porn star, they do have a split in
              your group, believe it or not, but they also have one that just left: Carol
              Hubbard.

       c.     The sexual predators you might think are fairly easy to spot because they
              make you uncomfortable to be around, but they’re still there. And your
              friend Carol Hubbard was a sexual predator, but she was also a
              financial predator because she was poor. And you have many who
              come in contact with this group thinking that this is where they will make
              their riches.

       d.     We don’t judge you over the fact that you have sexual desires or that you
              want to have wealth. But if you’re using other people to get it in a way
              that is inappropriate, you need to stop and think about how far you’re
              going to get before we see what you’re doing. That is why Carol
              Hubbard and Ken Kyzer are no longer in your group.

       e.     So this guy who is, uh, previously a reader (Rob Murphy), just reactivated,
              how long ago what that Deborah?

              Deborah [Alexander]: Three days ago.

              Three days ago. So we got right of the other one, Carol Hubbard, and
              now we have this guy. Okay? So, they really want to be involved in
              this work, but I don’t take them seriously any longer . . . But you’ve
              got to understand just how messed up human psychology is, to see
              how you can get such a diversity of expression in the human form.

       f.     Why are we always so hard on the pornographers? Is it because they’re
              predatory? In most cases, who makes all the money? It’s the
              pornographer, it’s not the porn star.



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      Well, these two, Nina Hartley and Sandra Otterson are a little smarter
      because they took control of their own destiny and they are the ones
      making the money . . . But they’re still predatory on people who cannot
      express their sexuality in a normal functional manner.

g.    What’s happened recently with the Scribe’s split, Ken Kyzer, is an
      example of how the 2nd ray not only got subverted, but got completely
      kicked out. And what was it due to? I am going to be very blunt about it.
      It was about sex and money.

      In this group we have worked extremely hard to remove these as factors in
      the group’s functioning. We have tried to keep predatory people out of
      the group, either who are predatory sexually or monetarily. The
      sexual predators you might think are fairly easy to spot because they
      make you uncomfortable to be around, but they’re still there.

      And your friend Carol Hubbard was a sexual predator, but she was
      also a financial predator because she was poor.

      And you have many who come in contact with this group thinking that this
      is where they will make their riches . . .

h.    Sexual predation is very common. It’s a very common part of the 3rd ray
      Psychoanthropology because 3rd rays tend to be very insensitive to others.

      They seek ways of gaining control over others and whether it’s sex,
      money or power, they’ll use one or more of these things to gain, uh,
      the upper hand.

      We have told the higher self of Carol Hubbard that if they want to
      stay in the group, if they want to have a functioning member of the
      group, there can be no sexual or financial predation going on.

      The Scribe’s higher self needs to come forward and explain what it is they
      did to cause the Carol Hubbard/Ken Kyzer problem from occurring in the
      first place because they were largely responsible for that.

      This group cannot exist with financial or sexual predators. You
      cannot come into this group thinking, “Well, I need to get myself laid,” or
      “I need to make a buck.”

      If you happen to meet somebody in the group and you’re attracted to them
      and you form a relationship, that’s perfectly fine.




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               But if your sole purpose of being here is to have sex, you’re in the wrong
               place. The same is true if you’re here to try to make money off of people
               in the group. This is not the place to do it . . .

               But what you have seen with Carol Hubbard and Ken Kyzer is a
               perfect example of what we are trying to prevent in this group.

(Id. at ¶¶ 31, 35.) (Emphasis in original.)

       The statements, which were made live at the Santa Fe conference before an audience of

more than 100 attendees in retaliation against Plaintiff and Mr. Kyzer, were, thereafter, edited,

transcribed, and published online on the JMGC/CoW website which is available to JMGC’s

worldwide membership. (Id. at ¶¶ 33, 34, 37.) Because Defendants had ousted Plaintiff from

JMGC, she was precluded from reading the transcribed texts. (Id. at ¶ 35.) The statements have

caused Plaintiff extreme embarrassment and emotional distress, and have caused third-parties,

friends and associates to avoid being associated with her out of fear of being associated with the

statements. (Doc. 15 at ¶¶ 40, 41.)

       Defendants’ treatment of Plaintiff is consistent with their history and pattern of targeting

members, particularly females, who dissent or question their directives, with shaming conduct.

(Id. at ¶¶ 17, 19, 42-44.) Defendants have previously maligned dissenting females by publishing

statements labeling a well-respected former member of the United States Congress who was not

a CoW member, but founded an organization that CoW’s members are expected to volunteer for

and financially support, “as a madam at a bordello and a slave holder; and stating that another

such person was a black whore, who aided and[] otherwise[] contributed to Dr. Martin Luther

King, Jr.’s assassination.” (Id. at ¶ 44.)

       Based on the foregoing allegations, Plaintiff seeks to recover damages on four theories of

liability: (1) Defamation and Defamation Per Se, (2) False Light Invasion of Privacy, (3)

Intentional Infliction of Emotional Distress, and (4) Civil Conspiracy. (Doc. 15 at 11-17.)

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Plaintiff also seeks to enjoin Defendants from permitting continued access to its membership to

the allegedly defamatory statements about her, to enjoin Defendants from publishing any further

defamatory comments about her, and an order compelling Defendants to redact Plaintiff’s and

Mr. Kyzer’s names from JMGC/CoW communications, transcripts, and publications. (Doc. 15

at 17.)     Defendants move to dismiss these claims on the ground that the at-issue beliefs and

communications are “religious” and, as such, Plaintiff’s claims, which arise from a purely

religious controversy, are barred by the “church autonomy doctrine”—an affirmative defense

grounded in the First Amendment to the Constitution. (Doc. 19 at 11-17.) Defendants argue, in

the alternative, that each of Plaintiff’s claims should be dismissed on the merits for failure to

state a claim upon which relief can be granted. (Id. at 17-29.) For the reasons discussed herein,

the Court concludes that Plaintiff’s claims are barred by the First Amendment.                Because

Plaintiff’s claims are dismissed on First Amendment grounds, the Court does not consider

Defendants’ alternative arguments.

                                            ANALYSIS

   I.        The Standards Governing a Motion to Dismiss

   Federal Rule of Civil Procedure 12(b)(6) authorizes a court to dismiss a complaint for

“failure to state a claim upon which relief can be granted.” In deciding a motion to dismiss

under Rule 12(b)(6), the Court must determine whether the plaintiff's complaint “contain[s]

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007)). In undertaking this analysis, the Court considers “the complaint as a whole, along

with the documents incorporated by reference into the complaint,” construes all well-pled

allegations in the light most favorable to the plaintiff. Nakkhumpun v. Taylor, 782 F.3d 1142,



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1146 (10th Cir. 2015). “Well-pled” means that the allegations are “plausible, non-conclusory,

and non-speculative.” Dudnikov v. Chalk & Vermilion Fine Arts, Inc., 514 F.3d 1063, 1070 (10th

Cir. 2008). “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Courts “disregard conclusory

statements and look only to whether the remaining . . . factual allegations plausibly suggest the

defendant is liable.” Mocek v. City of Albuquerque, 813 F.3d 912, 921 (10th Cir. 2015).

   II.      In the Context of This Case the Court Shall Treat the “Church Autonomy
            Doctrine” as an Affirmative Defense

         It is a longstanding principle of law that secular courts have no jurisdiction over matters

that are “strictly and purely ecclesiastical.” Watson v. Jones, 80 U.S. 679, 733 (1871). This

principle, which is rooted in the fundamental right of religious freedom, acknowledges that by

voluntarily joining a religious association which is engaged in the expression and dissemination

of any religious doctrine, a person impliedly consents to be governed, in ecclesiastical matters,

by the religious organization’s “organic laws, their books of discipline, . . . their collections of

precedents, . . . [and] their usage and customs[.]” Id. at 729. Because the religious organization,

itself, is the best judge of “what constitutes an offence against the word of God and the discipline

of the church[,]” the organization retains exclusive control over matters concerning “theological

controversy, church discipline, ecclesiastical government, or the conformity of the members of

the church to the standard of morals required of them[.]” Id. at 732-33. For a secular court to

intervene in such matters by permitting individuals aggrieved by the religious organization’s

ecclesiastical administration to adjudicate such matters in civil court would be to subvert the

inherent right of religious bodies to exercise religious freedom. Id. at 729.




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         The foregoing principles originally grounded in common law,5 have long since been tied

to the religion clauses of the First Amendment to the Constitution, which prohibit Congress from

making any “law respecting an establishment of religion, or prohibiting the free exercise

thereof[.]” See Kedroff v. St. Nicholas Cathedral of Russian Orthodox Church in N. Am., 344

U.S. 94, 116 (1952) (recognizing that the freedom accorded to religious organizations from

secular control or manipulation is grounded in the First Amendment); see Kreshik v. St. Nicholas

Cathedral, 363 U.S. 190, 191 (1960) (holding that the religion clauses of the First Amendment

apply to the judiciary as well as to the legislature). In a body of law commonly known as the

“church autonomy doctrine” or the “ecclesiastical abstention doctrine” the Supreme Court has

adhered to the principle, originally established in Watson, that secular courts should abstain from

adjudicating, and indeed have no jurisdiction over, matters that are fundamentally ecclesiastical

or religious in nature.        See Serbian E. Orthodox Diocese for the U.S. of Am. & Can. v.

Milivojevich, 426 U.S. 696, 709-10 (1976) (recognizing, consistent with Watson, that the

resolution of religious disputes is the purview of ecclesiastical, not civil, tribunals); Hosanna-

Tabor Evangelical Lutheran Church & Sch. v. E.E.O.C., 565 U.S. 171, 185-86 (2012) (quoting

Kedroff for the proposition that Watson “radiates a spirit of freedom for religious organizations,

an independence from secular control or manipulation—in short, power to decide for themselves,

free from state interference, matters of church government as well as those of faith and doctrine.”

(alteration omitted)).


5
 Watson, a diversity case, was decided before the First Amendment had been rendered applicable to the States
through the Fourteenth Amendment, and was, therefore, grounded in common law instead of the Constitution of the
United States. However, cases decided after the Fourteenth Amendment to the United States Constitution have
recognized that the principle established in Watson accords with the religion clauses of the First Amendment and
“have a clear constitutional ring.” Serbian E. Orthodox Diocese for U. S. of Am. & Canada v. Milivojevich, 426 U.S.
696, 709-11 (1976). Thus, the Supreme Court has continued to rely on the reasoning of, and the holding in, Watson
insofar as it pertains to the question of civil court’s involvement in ecclesiastical issues. Id. at 710; see Hosanna-
Tabor Evangelical Lutheran Church & Sch. v. E.E.O.C., 565 U.S. 171, 185-87 (2012) (discussing, and not
contravening, Watson and its progeny).

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       After passage of the Civil Rights Act of 1964, courts recognized the existence of a

“ministerial exception” which, like the far older church autonomy doctrine, is grounded in the

First Amendment. Hosanna-Tabor, 565 U.S. at 188. The ministerial exception is a narrow

subcategory of the church autonomy doctrine that “precludes application of [employment

discrimination laws] to claims concerning the employment relationship between a religious

institution and its ministers.” Hosanna–Tabor, 565 U.S. at 188; see id. at 194-95 (“The

[ministerial] exception ... ensures that the authority to select and control who will minister to the

faithful—a matter strictly ecclesiastical—is the church's alone.” (Citation omitted.)); Skrzypczak

v. Roman Catholic Diocese of Tulsa, 611 F.3d 1238, 1242 n.4 (“Out of [the] broad prohibition

[of the church autonomy doctrine], the courts have carved a narrower ministerial exception . . .

that prevents adjudication of Title VII employment discrimination cases brought by ministers

against churches.”).

       Over time, courts applying the church autonomy/ecclesiastical abstention doctrine

(hereinafter “the church autonomy doctrine”) and the ministerial exception have taken

inconsistent stances in regard to their procedural operation—pertaining particularly to the issue

whether either or both constitute an affirmative defense as distinct from a jurisdictional bar. The

Supreme Court, observing in Hosanna-Tabor (an employment discrimination case), the existence

of a “conflict” among the Courts of Appeals over whether the ministerial exception is a

jurisdictional bar or a defense on the merits resolved the issue by concluding that the ministerial

exception “is an affirmative defense to an otherwise cognizable claim, not a jurisdictional bar.”

Hosanna-Tabor, 565 U.S. at 195 n.4. This, the Supreme Court reasoned, “is because the issue

presented by the exception is whether the allegations the plaintiff makes entitle him to relief, not

whether the court has the power to hear the case.” Id. While Hosanna-Tabor unquestionably



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confirmed that the ministerial exception is an affirmative defense, courts continue to take

opposing positions on the issue of whether the broader, and far older church autonomy doctrine

operates as an affirmative defense or a jurisdictional bar.

       On one hand, several courts continue to rely on Watson and Milivojevich (which were

discussed approvingly in Hosanna-Tabor) for the proposition that the church autonomy doctrine

precludes a court’s subject matter jurisdiction over ecclesiastical matters. See e.g., Doe v. First

Presbyterian Church of USA of Tulsa, 2017 OK 106, ¶¶ 8-9, __ P.3d __ (Okla. 2017)

(distinguishing the relatively new ministerial exception from the “far older” church autonomy

doctrine; and concluding that Hosanna-Tabor only stands for the proposition that the ministerial

exception is an affirmative defense, whereas the 1871 Supreme Court decision in Watson, in

which the church autonomy doctrine was first recognized continues to stand for the proposition

that it is a jurisdictional bar); Church of God in Christ, Inc. v. L.M. Haley Ministries, Inc., 531

S.W.3d 146, 157-59 (Tenn. 2017) (noting that “the Supreme Court did not address the

ecclesiastical abstention doctrine in Hosanna-Tabor” and concluding, based upon Watson and its

progeny, that where it is applicable, the doctrine operates as a jurisdictional bar); Bilbrey v.

Myers, 91 So.3d 887, 890-91 (Fla. Dist. Ct. App. 2012) (holding that the church autonomy

doctrine operates to bar subject matter jurisdiction over tort claims against religious institutions).

These Courts take the position that the church autonomy doctrine and the ministerial exception

are distinct concepts and, under Watson and its progeny, the church autonomy doctrine

constitutes a jurisdictional bar, whereas pursuant to Hosanna-Tabor the ministerial exception is

an affirmative defense.

       On the other hand, some courts—including of relevance here, the Tenth Circuit Court of

Appeals and the New Mexico Court of Appeals, have long held that the church autonomy



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doctrine is an affirmative defense. See Bryce v. Episcopal Church in the Diocese of Colo., 289

F.3d 648, 654 (10th Cir. 2002) (holding, prior to the Hosanna-Tabor decision, that the church

autonomy “defense” is “more appropriately considered as a challenge to the sufficiency of

plaintiff’s claims under Rule 12(b)(6)” than a challenge to the court’s subject matter jurisdiction

pursuant to Rule 12(b)(1); Celnik v. Congregation B'Nai Israel, 131 P.3d 102, 105 (N.M. Ct.

App. 2006) (relying on Bryce for the proposition that “a claim of constitutional immunity based

on the church autonomy doctrine should be treated in the first instance as a motion [motion to

dismiss for failure to state a claim instead of a motion to dismiss for lack of subject matter

jurisdiction] because the court does in fact have jurisdiction to consider the constitutional

claim.”). The Supreme Court’s decision in Hosanna-Tabor, which discusses Watson and its

progeny approvingly, yet cites Bryce—in which the Tenth Circuit considered the application of

the church autonomy doctrine in observing a circuit split on the question of whether the

ministerial exception is an affirmative defense, does nothing to clarify the matter. Hosanna-

Tabor, 565 U.S. at 185-87, 195 n.4; Bryce, 289 F.3d at 653-54 (considering whether the church

autonomy doctrine was an affirmative defense to, or jurisdictionally barred, the plaintiff’s Title

VII, and related claims against the church that formerly employed her).

       Considering the foregoing, it would be reasonable to conclude under the particular

circumstances of this case—in which Plaintiff’s claims do not arise out of an employment

dispute, but are premised instead on Mr. Alexander’s communications, channeled or otherwise,

presented to the members of JMGC/CoW about the state of Plaintiff’s soul—that Defendant’s

church autonomy doctrine argument actually challenges this Court’s jurisdiction in the manner of

Watson and its progeny. See Fed. R. Civ. P. 12(h)(3) (permitting the Court to dismiss an action

at any time on the ground that it lacks subject matter jurisdiction over the matter). Nevertheless,



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insofar as it is reasonable to assume (if not decide) that the Supreme Court’s citation to Bryce in

footnote 4 of the Hosanna-Tabor decision reflects the Supreme Court’s implicit determination

the Tenth Circuit has correctly determined that the church autonomy doctrine, like the ministerial

exception, operates as an affirmative defense; and considering that the Defendants have raised

and briefed this issue in a motion to dismiss under Rule 12(b)(6), the Court shall analyze the

matter accordingly.

   III.    Standards Governing a Motion to Dismiss Based Upon an Affirmative Defense

   “Under Rule 12(b) . . . , a defendant may raise an affirmative defense by a motion to dismiss

for the failure to state a claim.” Miller v. Shell Oil Co., 345 F.2d 891, 893 (10th Cir. 1965). “If

the defense appears plainly on the face of the complaint itself, the motion may be disposed of

under this rule.” Id. “But that is only when the complaint itself admits all the elements of the

affirmative defense by alleging the factual basis for those elements.” Fernandez v. Clean House,

LLC, 883 F.3d 1296, 1299 (10th Cir. 2018). In other words, only when the “plaintiff pleads

itself out of court by admitting all of the ingredients of an impenetrable defense” may a

complaint that otherwise states a claim be dismissed under Rule 12(b)(6). Fernandez, 883 F.3d

at 1299 (quoting Xechem, Inc. v. Bristol-Myers Squibb Co., 372 F.3d 899, 9010 (7th Cir. 2004).

   IV.     Plaintiff’s Complaint Admits the Ingredients of a First Amendment-Based
           Affirmative Defense

   1. The Allegations in the Complaint Establish that Defendants’ Beliefs are “Religious”
      for First Amendment purposes

    “Although the Supreme Court has done little to identify positively what ‘religion’ is for First

Amendment purposes, it has done a slightly better job of providing guidelines that courts should

follow when attempting to determine whether a set of beliefs is ‘religious.’” United States v.

Meyers, 906 F. Supp. 1494, 1500 (D. Wyo. 1995), aff'd, 95 F.3d 1475 (10th Cir. 1996).



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Religious belief does not necessarily entail a belief in God. Kalka v. Hawk, 215 F.3d 90, 98

(D.C. Cir. 2000) (citing Torcaso v. Watkins, 367 U.S. 488, 495, n.11, (1961)). “[R]eligious

beliefs need not be acceptable, logical, consistent, or comprehensible to others in order to merit

First Amendment protection.” Thomas v. Review Bd. of the Indiana Employment Sec. Div., 450

U.S. 707, 714 (1981). And courts may not consider whether the party’s purportedly religious

beliefs are true or false. Meyers, 906 F. Supp. At 1500 (citing United States v. Ballard, 322 U.S.

78, 92, (1944)).

    In Meyers, where the issue was whether the “Church of Marijuana” was a bona fide religion

that triggered the protections of the Religious Freedom Restoration Act (“RFRA”), the court

compiled a list of factors that may inform the question whether a set of beliefs is “religious” for

First Amendment purposes. See Meyers, 906 F. Supp. at 1495, 1501-03. Canvassing cases on

religion6 to discern indicia of religion, the Meyers court concluded that religious beliefs are

characterized by:          ultimate ideas, metaphysical beliefs, moral or ethical system,

comprehensiveness of beliefs, and accoutrements of religion; i.e., founder, prophet, teacher;

important writings; gathering places; ceremonies and rituals; structure or organization; holidays;

diet or fasting; appearance and clothing; and propagation. Id. at 1502-03. However, the court

emphasized that no one of these factors was dispositive; instead, they should be viewed as




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  The Meyers court gleaned many of the factors from the following cases: Africa v. Commonwealth, 662 F.2d 1025
(3d Cir. 1981); Malnak v. Yogi, 592 F.2d 197 (3d Cir. 1979); United States v. Sun Myung Moon, 718 F.2d 1210 (2d
Cir. 1983); Founding Church of Scientology of Washington v. United States, 409 F.2d 1146 (D.C. Cir. 1969);
Washington Ethical Soc’y v. District of Columbia, 249 F.2d 127 (D.C. Cir. 1957); United States v. Kauten, 133 F.2d
703 (2d Cir. 1943); Sherr v. Northport-East Northport Union Free School Dist., 672 F. Supp. 81 (E.D.N.Y. 1987);
Jacques v. Hilton, 569 F. Supp. 730 (D.N.J. 1983); Church of Chosen People v United States, 548 F. Supp. 1247 (D.
Minn. 1982); Womens Services, P.C. v. Thone, 483 F. Supp. 1022 (D. Neb. 1979), aff’d, 636 F.2d 206 (8th Cir.
1980); Stevens v. Berger, 428 F. Supp. 896 (E.D.N.Y. 1977); Remmers v. Brewer, 361 F. Supp. 537 (S.D. Iowa
1973); United States v. Kuch, 288 F. Supp. 439 (D.D.C. 1968); Fellowship of Humanity v. County of Alameda, 153
CalApp.2d 673, 315 P.2d 394 (1957); and W. Van Alstyne, First Amendment 1053 (2d ed. 1995). U.S. v. Meyers,
906 F. Supp. 1494, 1503, n. 9 (D. Wyo. 1995).

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criteria that, if minimally satisfied, permit a conclusion that a set of beliefs qualifies as a

“religion.” Id. at 1503 (citing Malnak v. Yogi, 592 F.2d 197, 210 (3d Cir. 1979)).

    The parties take contradicting positions on the question whether the allegations in the

Complaint demonstrate that Defendants’ beliefs are “religious” for First Amendment purposes.

(Doc. 19 at 5-9; Doc. 32 at 2-3.) Defendants argue that the allegations in Plaintiff’s Complaint

demonstrate that Defendants’ beliefs are “religious” as that term is defined in Meyers because:

the members of JMGC are compelled by the “spiritual leader” (Mr. Alexander) to adopt the

organization’s reincarnation doctrines; the organization believes in, and is bound by, channeled

communications from higher beings and master guides; the organization’s beliefs include moral

and ethical standards—as exemplified by the fact that it provides discussions and publications on

the topic of spiritual development, and works toward eliminating sexual and financial predation

in its membership; and the messages and beliefs are conveyed to the organization’s membership

in writing and at seminars and conferences. While Plaintiff argues that she has not alleged that

JMGC is a “religious organization” nor has she alleged that the channeled communications

constitute a “religious belief[,]” she does not refute the contention that the facts alleged in the

Complaint exemplify several indicia of religion as set forth in Meyers.          (Doc. 32 at 3.)

Specifically, the allegations in the Complaint demonstrate that Defendants have metaphysical

beliefs (i.e., reincarnation and belief that past lives influence peoples’ current lives and life

decisions7, channeled communications from master guides and higher beings that are binding on

the membership,8 a belief in souls and aspects of souls9), a “founder” or “teacher” (Mr.

Alexander as spiritual leader, receiver of channeled communications and “Scribe”10), a moral


7
  Doc. 15, ¶¶ 11, 12, 14.
8
  Id., ¶¶ 13, 30.
9
  Id., ¶¶ 28, 31.
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   Id., ¶¶ 12, 13, 31.

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system that includes instructions and beliefs that are binding on its members (promoting self-

improvement, altruistic involvement and spiritual development, decrying predatory aspects of

souls, distinguishing acceptable sexual and financial desires from inappropriate sexual and

financial “predation”, prohibiting members from engaging with “’destructive’ influence”11),

important writings (develops written materials to promote its reincarnation-based doctrines,

worldview, and advocacy agenda to its members and to those interested in engaging with its

programs, transcribes channeled communications presented at member conferences and

published       online      to     its    membership12),      gatherings   (“Companions   of   Wisdom”

conferences/seminars13), and an organizational structure (closed, invitation only, nonprofit

organization with worldwide membership and “authoritarian” “hierarchical structure that does

not permit dissent or questions regarding its doctrines or leadership” and disciplines dissenting

members14). See Meyers, 906 F. Supp. at 1502 (“Religious beliefs often are ‘metaphysical,’ that

is, they address a reality which transcends the physical and immediately apparent world.”);

Jacques v. Hilton, 569 F. Supp. 730, 733 (“Generally speaking, religious beliefs flow out of, and

embody a sense of a relationship to a supreme being or supernatural force which gives rise to

‘duties superior to those arising from any human relation.’”). In light of these allegations, it is of

little consequence to the Court’s analysis here that the Complaint is devoid of a conclusory

allegation that the organization is a religion or that its beliefs are religious. See generally,

Mocek, 813 F.3d 912, 921 (stating that Courts disregard conclusory statements provided in a

complaint and rely, instead, on factual allegations); Malnak v. Yogi, 440 F.Supp 1284, 1319-20

(D. N.J. 1977) (rejecting the notion a litigant’s subjective characterization of beliefs or practices


11
   Id., ¶¶ 13, 15, 29, 31, 35, 36, 43, 44.
12
   Id., ¶¶ 11, 15, 18, 30, 31.
13
   Id., ¶¶ 11, 18, 20, 21, 24, 30, 31, 34.
14
   Id., ¶¶ 11, 12, 19, 20, 21, 22, 23, 25, 26, 28, 37.

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as religious or not religious informs the question whether the beliefs and practices are religious

as a matter of law under the First Amendment).

       Consistent with the admonition in Meyers that “no one . . . factor[] is dispositive, and that

the factors should be seen as criteria that, if minimally satisfied, counsel the inclusion of beliefs

within the term ‘religion[,]’” the Court concludes that the allegations in the Complaint establish

that Defendants’ beliefs—which, objectively speaking, are not secular—are “religious” for First

Amendment purposes. Meyers, 906 F. Supp. at 1503; see id. at 1503-04 (noting that under the

factors, even “obscure beliefs” including, for example Animism, Wicca, Druidism, Santeria, and

what is, in the present day, called “mythology” would all likely qualify as “religion”; whereas

beliefs that are “[p]urely personal, political, ideological or secular[,]” such as nihilism, socialism,

Marxism, and humanism, would not so qualify). By extension, JMGC/CoW, an organization

that exists to promote its reincarnation-based spiritual doctrine and whose membership is

required to adhere to its “religious” precepts, is entitled to First Amendment protections against

tort claims on par with churches and other religious organizations. That is, in the limited context

of this case, and based upon the factual allegations in the Complaint, JMGC/CoW retains

exclusive control, protected by the First Amendment, over matters concerning “theological

controversy, church discipline, ecclesiastical government, or the conformity of the members of

the church to the standard of morals required of them.” Watson, 80 U.S. at 733; Kedroff, 344

U.S. at 116 (recognizing that the freedom accorded to religious organizations from secular

control or manipulation is grounded in the First Amendment).

   Although the Court concludes that Defendants’ beliefs and practices are “religious” under the

First Amendment, the Court’s inquiry does not end there. While it is clear that “religious

controversies” and “matters of faith, doctrine, church governance and polity” are not the proper



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subject of civil court inquiry,” Milivojevich, 426 U.S. at 713, Bryce, 289 F.3d at 655, not every

civil court dispute involving a religious organization requires the court to resolve ecclesiastical

questions. Presbyterian Church in the U.S. v. Mary Elizabeth Blue Hull Mem’l Presbyterian

Church, 393 U.S. 440, 449-50 (1969). Of course, “[w]hen the imposition of liability would

result in the abridgement of the right to free exercise of religious beliefs, recovery in tort is

barred.” Paul v. Watchtower Bible & Tract Soc. of N.Y., Inc., 819 F.2d 875, 880 (9th Cir. 1987).

However, a civil court does not run afoul of the First Amendment by applying neutral principles

of law to resolve such disputes. Presbyterian Church in U.S., 393 U.S. at 449 (recognizing that

“not every civil court decision as to property claimed by a religious organization jeopardizes

values protected by the First Amendment”; and “[c]ivil courts to not inhibit the free exercise of

religion merely by opening their doors to disputes involving church property” and applying

neutral principles of law, developed for use in all property disputes).

   In other words, if a dispute involving a religious organization can be resolved by application

of neutral principles of law, and does not require the court to become entangled in questions of

religious doctrine, polity, and practice, the First Amendment—and by extension, the church

autonomy doctrine—does not bar the litigation. Jones v. Wolf, 443 U.S. 595, 602-03 (1979)

(discussing the “neutral-principles approach” as “completely secular in operation, and yet

flexible enough to accommodate all forms of religious organization and polity” in the context of

a church property dispute); Milivojevich, 426 U.S. at 710 (recognizing that if civil courts

undertake to resolve controversies involving religious organizations, it must be done “without

resolving underlying controversies” involving religious doctrine and practice). Correspondingly,

if the claims are “rooted in religious belief,” the religion clauses of the First Amendment prohibit

civil court interference. Wisconsin v. Yoder, 406 U.S. 205, 215 (1972). Thus, the crux of the



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issue raised by Defendant’s motion is whether it is evident from the face of Plaintiff’s complaint

that the Court may adjudicate Plaintiff’s claims by applying neutral principles of law without

becoming entangled in matters of a religious nature.

      2. Analysis of Plaintiff’s Claims

      Broadly speaking, Plaintiff seeks damages arising from two forms of allegedly tortious

conduct: Defendants’ statements about the nature of Plaintiff’s soul, which were disseminated to

the membership of JMGC/CoW; and Defendants’ efforts to ostracize her from the organization

and its members, including her then-fiancée, now husband, Mr. Kyzer. Plaintiff claims that this

is purely a secular dispute that can be resolved through the application of neutral principles of

law without “doctrinal or organizational entanglement.” (Doc. 32 at 3.) The Court does not

agree.

             a. General Principles Relevant to Plaintiff’s Particular Theories of Recovery
                Support Dismissal of Plaintiff’s Claims on First Amendment Grounds

      As an initial observation, there is no bright line legal proposition that governs the question

whether tort claims brought by current or former members of religious organizations that defame

or ostracize them are barred by the First Amendment. And a review of the case law reveals that

decisions are driven by the nuances underlying the particular claims. For example, in the

defamation context, the Supreme Court of Iowa rejected a First Amendment defense to a claim

of defamation arising out of a letter disseminated to members of the general public by a church

minister describing the plaintiff as the “spirit of Satan.” Kliebenstein v. Iowa Conference of

United Methodist Church, 663 N.W.2d 404, 405-07 (Iowa 2003). The court reasoned that

although the phrase “spirit of Satan,” clearly conveys sectarian meaning, it also carries a secular

meaning and could, therefore effect the secular public’s impression of the plaintiff’s character.

Id.     Conversely, the Iowa Court of Appeals held that a defamation claim based on church

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officials having stated that the plaintiff “lied,” that he was “in league with Satan” and that he had

been “sleeping around” was barred by the First Amendment since these comments arose out of

an underlying dispute between the plaintiff and his church and, unlike the Kliebenstein case, the

comments were presented only to church members.           Howard v. Covenant Apostolic Church,

Inc., 705 N.E.2d 385, 388-89 (Iowa Ct. App. 1997). The coexistence of Kliebenstein and

Howard as governing law within the same judicial jurisdiction illustrate the importance of

context and of subtle distinctions in the context of the First Amendment defense to tort claims

against “religious” institutions. With that in mind, the Court, having reviewed a number of cases

from courts in several jurisdictions, has derived some general principles that usefully inform its

analysis of Defendant’s First Amendment defense in the context of this case.

       The first principle is that courts generally do not permit tort claims arising from internal

processes by which religious organizations discipline their members or determine whether a

person’s character renders her suitable for continued membership or participation in the

organization. This is so even where the conduct underlying the tort claim would be actionable in

another context.

   For example, the Minnesota Court of Appeals held that a couples’ claim for defamation

against their former pastor who had read a letter to the entire congregation of his church setting

out the reasons for terminating the couple’s membership was barred by the First Amendment

even as to statements that were ostensibly unrelated to church doctrine. Schoenhals v. Mains,

504 N.W.2d 233, 234-36 (Minn. Ct. App. 1993). The letter related that the couple’s church

membership was being terminated for:

       1. A lack of financial stewardship with consistency and faithful tithing and
       offering over a given period of time.
       2. A desire on your part to consistently create division, animosity and strife in the
       fellowship.

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       3. Direct fabrication of lies with the intent to hurt the reputation and the
       establishment of Faith Tabernacle of Truth Church and congregation.
       4. Backbiting, railing accusations, division, lying, are some of the most serious
       sins found in the Bible. Where, by all appearances and related conversations, you
       have fallen into all of the categories.

Id. at 234. As to some of these allegedly defamatory statements—i.e. those related to the

couple’s faithfulness to the church, the court reasoned that a jury could not decide their truth or

falsity without impermissibly inquiring into the church’s doctrines. Id. at 236. Further, the court

reasoned, although the issue whether the couple

       had engaged in ‘direct fabrication of lies with intent to hurt the reputation and the
       establishment’ of the church appears unrelated to the church doctrine on its face,
       the statement nevertheless relates to the [c]hurch’s reasons and motives for
       terminating the [couples’] membership. Examination of those reasons and
       motives would also require an impermissible inquiry into [c]hurch disciplinary
       matters. The couples’ claim clearly involves an internal conflict within the
       church, which is precluded by the First Amendment.

Id. at 236 (emphasis added).

       Likewise in Downs v. Roman Catholic Archbishop of Baltimore, 683 A.2d 808 (Md. Ct.

Spec. App. 1996), an action for defamation against a church and several members of the church

hierarchy brought by a plaintiff who had formerly aspired to Priesthood was barred by the First

Amendment. The plaintiff claimed that certain members of the church hierarchy had made

defamatory statements concerning his honesty, reliability, integrity, morality, and had also made

assertions of “sexually motivated conduct toward certain staff members” of a Parish; with the

intention, and with the effect of, preventing him from becoming a priest. Id. at 809-10, 813.

Although the plaintiff argued that the First Amendment did not bar his claims because the case

was “simply one of defamation” and he was not seeking judicial review of any decision made by

the church, the court reasoned that the matter was essentially an ecclesiastical controversy barred

by the First Amendment. Id. at 810-11. Noting that the defamatory statements were allegedly



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made “with the intent to harm the [p]laintiff’s chances for ordination to the priesthood[,]” the

court reasoned that “the very heart of the action is a decision by . . . clerical supervisors to

prevent [the plaintiff] from becoming a priest.”       Id. at 813. Thus, the court reasoned, “[e]ven

where the dispute actually presented to the court is one that, if presented by any other set of

litigants, would clearly be justiciable” insofar as the plaintiff’s defamation claim was intertwined

with the church’s determination that the plaintiff was not a suitable candidate for priesthood, the

matter is not within the court’s authority. Id.

       As another example, in C.L. Westbrook, Jr. v. Penley, 231 S.W.3d 389 (Tex. 2007), the

Supreme Court of Texas concluded that the First Amendment barred tort claims brought by a

former member of a church against the church’s pastor (who was also a professional counselor)

and other church officials after they disseminated a letter to the church congregation revealed

confidential information gleaned by the pastor during counseling sessions. Id. at 393. Among

other things, the letter informed the congregation that the plaintiff intended to divorce her

husband and that she had engaged in a “‘biblically inappropriate’ relationship with another man,”

and it encouraged the congregation to “break fellowship” with her. Id. The fact that the plaintiff

had engaged in an extramarital sexual affair was something that the plaintiff had disclosed to the

pastor in the context of marital counseling sessions. Id. In a lawsuit arising out of these events,

the plaintiff claimed defamation, professional negligence, breach of fiduciary duty, and

intentional infliction of emotional distress. Id. at 394, 399.

       In an effort to overcome the defendants’ First Amendment defense, the plaintiff (Penley)

argued that her professional negligence claim could be resolved by neutral principles of tort law

because her lawsuit centered on the pastor’s disclosure of confidential information that he had

learned during marital counseling sessions and, as such, the controversy did “not involve matters



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of religious doctrine, practice or church governance.” Id. at 400.        The court rejected this

argument. Id. The court reasoned that although Penley’s theory of tort liability was based, in

part, on the pastor’s breach of a secular duty of non-disclosure of confidential information, “this

disclosure cannot be isolated from the church-disciplinary process in which it occurred, nor

[could the pastor’s] free-exercise challenge be answered without examining what effect the

imposition of damages would have on the inherently religious function of church discipline.” Id.

In other words, although “it might be theoretically true that a court could decide whether [the

pastor/counselor] breached a secular duty of confidentiality without having to resolve a

theological question,” insofar as the claim was inherently tied to the church’s process of

expelling the plaintiff’s membership, the court could not do so without “unconstitutionally

imped[ing] the church’s authority to manage its own affairs.” Id. at 397-98.

       A final example, mentioned earlier, is the Iowa Court of Appeals’ decision in Howard.

There, the court held that a defamation claim premised on church members or officials having

stated that the plaintiff “had lied, that he was in league with Satan, . . . and that he had been

sleeping around” was barred by the First Amendment because the statements arose out of an

underlying dispute between him and the church as part of an effort to remove his church

membership and were made during a church meeting. Howard, 705 N.E.2d at 388-89.

       A second principle relevant to the facts and circumstances here, is that the First

Amendment bars tort claims that arise from circumstances in which a plaintiff has been

ostracized from a religious community—a practice known, formally in some religions, as

“shunning.” See Paul, 819 F.2d at 876-77 (recognizing that “shunning” is a form of ostracism

that purportedly has its roots in early Christianity, and which is practiced by various religious

groups, including the Amish, Mennonites, and Jehovah’s Witnesses). In these cases, too, courts



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have concluded that even where the religious organization engages in conduct that, in other

circumstances could be actionable under tort law, the First Amendment does not permit judicial

interference in what are, essentially, ecclesiastical disputes concerning membership in religious

organizations.

        For example, the Ninth Circuit Court of Appeals concluded, in Paul, that to allow a

plaintiff to pursue tort claims against a religious organization based on shunning practices would

effectively abridge the free exercise of religion guaranteed by the First Amendment.15 819 F.3d

at 880. The plaintiff in Paul, a former member of the Jehovah’s Witnesses, having been told by

a close childhood friend: “I can’t speak to you. You are disfellowshipped.”; having received

similar treatment from other friends; and having been ostracized at a tupperware party at the

home of a Jehovah’s witness because “the Elders” had instructed members of the faith not to

speak to her, filed tort claims against the corporate arms of the Governing Body of Jehovah’s

Witnesses. Id. at 876-77. In her lawsuit, the plaintiff claimed that defendants had engaged in

intentional conduct causing emotional distress, intentional conduct causing alienation of

affections, and intentional conduct causing harm to reputation. Id. at 879. In affirming the

dismissal of plaintiff’s lawsuit, the Paul court concluded that the imposition of tort damages on

the Jehovah’s Witnesses for engaging in the religious practice of shunning would essentially

criminalize and force the church to forego the practice, thereby imposing a direct burden on

religion. Id. at 880-81 (citing Langford v. United States, 101 U.S. 341, 345 (1879) for the

proposition that “the very essence of a tort is that it is an unlawful act” (alteration omitted)).


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   Notably, the Ninth Circuit did not consider the “ecclesiastical abstention doctrine” relevant to the issue whether
the First Amendment barred tort claims arising out of the religious practice of shunning. Paul, 819 F.2d 875, 878
n.1. In that regard, the court noted that the plaintiff “seeks relief for the harms she has suffered as a result of
conduct engaged in by the Jehovah’s Witnesses that is presumably consistent with the governing law of the
Church.” Id. As such, the issue was not governed by the ecclesiastical abstention doctrine which prohibits courts
from adjudicating a church’s decision relating to government of the religious polity. Id. Accordingly, the court
decided the matter by application of the free exercise clause of the First Amendment.

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       In another case involving “disfellowship” or “shunning,” the Supreme Court of Alaska

concluded that the First Amendment barred a plaintiff’s claims of negligent infliction of

emotional distress, intentional infliction of emotional distress, and defamation, among others.

Sands v. Living Word Fellowship, 34 P.3d 955, 956, 959 (Alaska 2001). In Sands, the plaintiff

shot himself in an attempted suicide after a church (Living Word) and two of its members (the

parents of the plaintiff’s girlfriend), instructed the congregants of Living Word as well as the

congregants of eight other churches to “shun” the members of Wasilla Ministries—the church to

which the plaintiff belonged. Id. at 957. Among other things, the defendants said that Wasilla

Ministries was a cult, and that the plaintiff was a “cult recruiter.” Id.   Underlying this feud was

a disagreement on parental authority—apparently related to the relationship between the plaintiff

and his girlfriend, and biblical interpretation.       Id. Two local newspapers published the

defendants’ allegations against Wasilla Ministries. Id.      These events caused the plaintiff great

emotional distress and led him to attempt suicide which attempt, though unsuccessful, rendered

him paralyzed from the chest down. Id.

       The Sands court reasoned that the defendants’ “shunning” directive to its congregation

and that of eight other churches was religiously based, and was motivated by religion. Id. at 959.

Likewise, the court reasoned that defendant’s statements that the plaintiff was a cult recruiter,

and the church of which he was a member was a cult were statements reflecting religious beliefs

and opinions. Id. at 960. Because the plaintiff’s claims arose out of an essentially religious

dispute, the Sands court accordingly concluded that the claims were barred by the First

Amendment. Id. at 959-60.

       A third principle relevant to the claims at issue here is a recognition by some courts of a

distinct legal effect between circumstances in which defamatory comments are published



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exclusively to the members of a religious organization and circumstances in which the comments

are published, as well, to the general community. See e.g., Schoenhals, 504 N.W.2d at 236

(reasoning that the fact that the defamatory letter was disseminated only to other members of the

Church strengthens the conclusion that the defamation claim arose from and was limited to an

internal conflict within the Church and is thus barred by the First Amendment”); compare

Kliebenstein, 663 N.W.2d at 406-07 (holding that the fact that a minister’s letter describing the

plaintiff as the “spirit of Satan” was disseminated to members of the community who were not

affiliated with the church “weakens [the] ecclesiastical shield” because the protections afforded

in this context “may be lost upon proof of excess publication or publication ‘beyond the group

interest’”)), with Howard, 705 N.E.2d at 388-89 (holding that a defamation claim premised on

church members or officials having stated that the plaintiff “had lied, that he was in league with

Satan, . . . and that he had been sleeping around” was barred by the First Amendment because the

statements arose out of an underlying dispute between him and the church as part of an effort to

remove his church membership and were made during a church meeting); but see Sands, 34 P.3d

at 957 (barring the plaintiff’s defamation claim on First Amendment grounds without discussing

the fact that the alleged defamatory statements were reported in two local newspapers).

   Applying the foregoing principles to the circumstances here, the Court concludes that the

First Amendment bars Plaintiff’s claims. As alleged in the Complaint, the conduct giving rise to

Plaintiff’s claims originally stemmed from an internal dispute between Plaintiff and the

leadership of JMGC prompted by Plaintiff’s “inquiring nature” and her “resistance” to the

directives of the leadership. It is evident from the face of the Complaint, however, that JMGC is

an authoritarian organization that does not permit dissent or questions regarding its doctrines or

leadership. Thus, when she dissented from and questioned the leadership’s directives, Plaintiff



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flouted the standards of conformity required of JMGC’s membership—standards that Plaintiff

impliedly assented to be governed by when she joined the organization’s membership nearly a

decade ago.16 See Watson, 80 U.S. at 729, 733 (stating that a person who voluntarily joins a

religious organization impliedly consents to be governed by the organization’s customs and rules

pertaining to the conformity of the members of the organization to the standards required

thereby).

       It is also evident from the face of the Complaint that JMGC’s prevailing practice in regard to

dissenting members is to publish maligning statements about them which are intended to cause

emotional and psychological trauma, and to isolate the dissenting members. Thus, the conduct

underlying Plaintiff’s claims precisely accords with the manner in which JMGC administers its

membership. To permit Plaintiff to pursue tort claims against JMGC for having published

defamatory statements to its membership regarding Plaintiff (specifically about “aspects” of

Plaintiff’s “soul”) and for its efforts to ostracize her from the organization and its members

would constitute an impermissible civil court intrusion upon JMGC’s Constitutionally protected

right to manage its own affairs.        Schoenhals, 504 N.W.2d at 236 (holding that the First

Amendment barred a couples’ claim of defamation where the defamatory comments were made

in the context of terminating the couple’s church membership; Downs, 683 A.2d at 813 (holding

that defamatory comments were not actionable in tort law because the comments were

intertwined with the church’s determination that the plaintiff was not a suitable candidate for

priesthood); C.L. Westbrook, Jr., 231 S.W.3d at 397-98 (holding that an otherwise actionable

professional negligence claim against a pastor was barred by the First Amendment because the

circumstances giving rise to the claim was inherently tied to the process of expelling the

plaintiff’s membership, and it could not be adjudicated without “unconstitutionally imped[ing]
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     Doc. 15, ¶¶20-21.

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the church’s authority to manage its own affairs”); Howard, 705 N.E.2d at 388-89 (holding that

the First Amendment barred a lawsuit for defamatory comments that were made in the context of

an underlying dispute between the plaintiff and his church); Paul, 819 F.2d at 880-81 (holding

that the imposition of tort damages on a religious organization for engaging in “shunning” would

unconstitutionally impose a direct burden on religion); Sands, 34 P.3d at 958-59 (holding that the

First Amendment barred claims based on the emotional distress caused by ostracism and

defamatory statements in the context of a religious dispute).

     Further, the allegedly defamatory statements arose in the context of Defendants relating to

their members the reasons that Plaintiff’s JMGC/CoW membership was terminated.                              For

example, that Plaintiff’s soul has a split who is a porn star; that her soul was part of the Manson

cult and other sex cults; and that “one aspect of [her] soul . . . was predatory in [the] group” are

among the allegedly defamatory statements that Plaintiff seeks to vindicate here. However, it is

evident from the face of the Complaint that these statements related to the reasons that Plaintiff’s

membership in JMGC/CoW was no longer viable. It is neither appropriate, nor under the First

Amendment is it permissible, for a civil court to adjudicate a defamation claim that arose in this

context. Schoenhals, 504 N.W.2d at 236 (holding that civil courts are barred from adjudicating

matters that relate to the termination of the plaintiff’s membership from a religious organization);

Wisconsin, 406 U.S. at 215 (holding that civil courts may not adjudicate matters that are “rooted

in religious belief”).

     Finally, to the extent that the allegations in the Complaint suggest that the allegedly

defamatory statements were published exclusively to the JMGC’s membership,17 this fact


17
   In this regard, the Court notes that Plaintiff alleges that JMGC published the at-issue statements to “JMGC’s
worldwide membership” on its website; and that after her membership was terminated, she was prohibited from
reading any of JMGC’s and “COW’s channeled communications.” (Doc. 15 at ¶¶ 30, 37)


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strengthens the Corut’s conclusion that Plaintiff’s claims, having occurred in the context of an

ecclesiastical dispute with JMGC/CoW, are barred by the First Amendment.                Schoenhals, 504

N.W.2d at 236 (reasoning that the fact that the defamatory letter was disseminated only to other

members of the Church strengthens the conclusion that the defamation claim arose from and was

limited to an internal conflict within the Church and is thus barred by the First Amendment”).

     As noted earlier, Plaintiff seeks to recover under the tort theories of defamation,18 false light

invasion of privacy, intentional infliction of emotional distress, and civil conspiracy. Because

the conduct at issue occurred in New Mexico (Doc. 15 ¶ 6), Plaintiff’s claims are governed by

the substantive law of this state. See Erie R.R. Co. v. Tompkins, 304 U.S. 64, 78 (1938) (holding

that a federal court sitting in diversity must apply the substantive law of the forum); McPhail v.

Deere & Co., 529 F.3d 947, 957 (10th Cir. 2008) (applying substantive law of forum state in

diversity action).

     New Mexico Courts have had limited occasion to construe and apply the First Amendment in

the context of tort claims against a religious institution. See Galetti v. Reeve, 331 P.3d 997, 999

(N.M. Ct. App. 2014) (concluding that a teacher whose employment at a religious school had

been terminated could pursue a breach of contract claim which could be resolved without any

religious intrusion because the only issue raised thereby was whether the religious organization

complied with its contractual obligations; but remanding the plaintiff’s other tort claims—

including civil conspiracy and defamation—for the district court to consider whether these

claims involved religious matters); see Celnik, 131 P.3d at 103-04, 107 (affirming the dismissal

of a lawsuit brought by a Rabbi against the religious organization that formerly employed him

based on the “ministerial exception”). However, in accord with the general First Amendment

18
  New Mexico does not recognize the tort of “defamation per se.” Smith v. Durden, 276 P.3d 943, 948-49, 951
(N.M. 2012).


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and church autonomy principles discussed earlier, the Court of Appeals of New Mexico has

recognized that “[t]he First Amendment does not immunize every legal claim against a religious

institution or its members, but only those claims that are rooted in religious belief.” Galetti, 331

P.3d at 999. Thus, whether the First Amendment bars a particular tort claim depends on whether

the alleged misconduct is rooted in religious belief[,]” which question must be answered by

considering the elements of the plaintiff’s claim to determine whether adjudication of the claim

“would require the court to choose between competing religious visions, or cause interference

with the church’s administrative prerogatives.” Id. at 1001.

     In New Mexico, defamation is defined as “a wrongful and unprivileged injury to a person’s

reputation.”     Civ. U.J.I. 13-1001 NMRA (brackets omitted.)                   The elements of defamation

include: a defamatory communication, published by the defendant, to a third person, of an

asserted fact, which is false, of and concerning the plaintiff, and proximately causing actual

injury to the plaintiff’s reputation. Cory v. Allstate Ins., 583 F.3d 1240, 1243 (10th Cir. 2009)

(quoting Newberry v. Allied Stores, Inc., 108 N.M. 424, 773 P.2d 1231, 1236 (1989)); see also

N.M. Civ. UJI 13–1002 (listing all nine elements of defamation).19                                   “Defamatory

communications are those which tend to expose a person to contempt, to harm the person's

reputation, or to discourage others from associating or dealing with [him or her].” Cory, 583 F.3d

at 1243 (quoting N.M. Civ. UJI 13–1007).


19
  The elements of a prima-facie case of defamation are (i) a published communication (i.e. something intentionally
or negligently communicated to a person other than the plaintiff; (ii) the communication includes an asserted
statement of fact; (iii) the communication was concerning the plaintiff; (iv) the statement of fact is false; (v) the
communication is defamatory (i.e., it tended to expose the plaintiff to contempt, to harm her reputation, or to
discourage others from associating or dealing with her); (vi) the persons receiving the communication understood it
to be defamatory; (vii) the defendant knew the communication was false or negligently failed to recognize that it
was false, or acted with malice; (viii) the communication caused actual injury to the plaintiff’s reputation; and
(ix) the defendant abused its privilege to publish the communication. See Civ. U.J.I. 13-1002(B), 13-1003, 13-1007,
N.M.R.A.



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   The tort of false light invasion of privacy is “a close cousin of defamation.” Andrews v.

Stallings, 892 P.2d 611, 625 (N.M. Ct. App. 1995). To prevail in a false light invasion of

privacy claim, the plaintiff must prove: that she “was portrayed in a false light” meaning that

“the matter published concerning the plaintiff is not true”; that the false portrayal would be

highly offensive to a reasonable person such that the plaintiff would be justified in the eyes of

the community in feeling seriously offended and aggrieved by the publicity”; and “that the

publisher had knowledge of or acted in reckless disregard as to the falsity of the publicized

matter and the false light in which the other would be placed.” Young v. Wilham, 406 P.3d 988,

1007–08 (N.M. Ct. App. 2017) (alterations omitted).

   To prevail in a claim of intentional infliction of emotional distress, a plaintiff must prove that

(1) the defendants engaged in conduct that “was extreme and outrageous”; (2) the conduct was

intentional or done “in reckless disregard of the plaintiff”; (3) the plaintiff suffered “extreme and

severe” mental distress; and (4) “there is a causal connection between the defendant's conduct

and the [plaintiff’s] mental distress.” Baldonado v. El Paso Nat. Gas Co., 176 P.3d 286, 298

(N.M. Ct. App. 2008).

   Finally, in order to prevail in a claim for civil conspiracy, a plaintiff is required to show that:

(1) a conspiracy existed between two or more individuals; (2) pursuant to the conspiracy, the

defendants carried out specific wrongful acts; and (3) the plaintiff was damaged as a result of

these acts. Cain v. Champion Window Co. of Albuquerque, LLC, 164 P.3d 90, 98 (N.M. Ct. App.

2007). However, the tort of civil conspiracy does not provide an independent basis for liability;

instead, it requires the plaintiff to establish “an independent unlawful act—i.e. “something that

would give rise to a civil action on its own.” Id. In this case, Plaintiff’s civil conspiracy claim is

tied to her claim of defamation. (Doc. 15 ¶¶ 76-79.)



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   The statements and conduct giving rise to Plaintiff’s lawsuit cannot be adjudicated without

impermissible intrusion upon Defendants’ right, guaranteed by the First Amendment, to freely

exercise their religion. Each of Plaintiff’s claims, if adjudicated in a civil trial, would require the

jury (or judge in the role of fact-finder) to resolve questions that are rooted in religion. For

example, in order to succeed in her defamation claim or in her false light invasion of privacy

claim, Plaintiff would have to prove, among other things that, as a matter of fact, Plaintiff does

not: have “a split who is a porn star”; Plaintiff’s soul has not been part of “several sex cults”; and

that no aspect of Plaintiff’s soul was sexually or financially “predatory” within JMGC/CoW. See

Young, 406 P.3d at 1007–08 (stating that in order to prevail in a false light invasion of privacy

claim, the plaintiff is required to prove that the at-issue statement was “not true”) Civ. U.J.I. 13-

1002(B) NMRA (stating the elements of defamation, including that an asserted statement of fact

regarding the plaintiff was “false”). She would have to prove, further, that when Defendants

made these statements they knew or should have known that they were false. Id. (stating that a

claim of defamation requires proof that the publisher knew or should have known that the

communication was false); Young, 406 P.3d at 1007–08 (stating that false light invasion of

privacy requires proof of the publisher’s knowledge or reckless disregard of the falsity of the

matter). To require a jury (or judge in the role of fact-finder) to determine the truth or falsity of

these statements and the extent to which Defendants believed them would entangle this secular

Court in a dispute centered upon Plaintiff’s and Defendants’ competing religious visions about

the nature of Plaintiff’s soul and whether the nature of her soul rendered her continued

membership within JMGC/CoW untenable. Under the First Amendment, such inquiries are not

within the purview of a civil court. See Galetti, 331 P.3d at 1001 (recognizing that courts are

prohibited from adjudicating matters that implicate competing religious visions or interfere with



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a religious organization’s administrative prerogative); see also Watson, 80 U.S. at 728–29

(indicating that matters of church discipline and the conformity of members of the church to the

standard of morals required of them are “strictly and purely ecclesiastical”). Accordingly,

Plaintiff’s claims of defamation and false light invasion of privacy are barred by the First

Amendment and shall be dismissed accordingly. Plaintiff’s civil conspiracy claim—which is

tied to her defamation claim (Doc. 15 ¶¶ 76-79), must also be dismissed. Cain, 164 P.3d at 98

(holding that the plaintiff’s civil conspiracy claim failed because the underlying claim to which it

was tied was not actionable).

        Plaintiff’s claim of intentional infliction of emotional distress seeks to vindicate the harm

that Plaintiff suffered as a consequence of Defendants’ statements and their efforts to ostracize

her from JMGC/Cow and its members, including Mr. Kyzer. (Doc. 15 at ¶¶ 70-75.) However,

as noted earlier, civil courts are generally prohibited from intervening in internal religious

disputes involving ostracizing or shunning or making allegedly defamatory statements in the

process of expelling someone from a religious organization. See e.g. Paul, 819 F.2d at 880

(holding that to allow a plaintiff to pursue tort claims against a religious organization based on

shunning would effectively abridge the free exercise of religion guaranteed by the First

Amendment); see Sands, 34 P.3d at (holding that the First Amendment barred claims based on

the emotional distress caused by ostracism and defamatory statements in the context of a

religious dispute). Thus, even assuming that a fact finder could determine whether Defendants’

conduct was “extreme and outrageous” and that it was “intentional” or “done in reckless

disregard of” the Plaintiff without becoming entangled in questions of an ecclesiastical or

religious nature,20 to permit Plaintiff to pursue her claim for damages based on Defendants’


20
  The Court notes that, as it pertains to Mr. Alexander’s “channeled” “Communication 17” regarding the state of
Plaintiff’s soul, this is a tenuous assumption.

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having ostracized and defamed her would, in the context of this case, amount to impermissible

government interference with Defendants’ right to practice their faith. Paul, 819 F.2d at 880-81

(reasoning that to allow the imposition of tort damages on a religious organization for shunning a

former member would essentially criminalize and force the church to forego the practice, thereby

imposing a direct burden on religion); see Galetti, 331 P.3d at 1001 (stating that if the remedy

sought by the plaintiff would substantively or procedurally interfere with a religious

organization’s operations the First Amendment operates as a “shield” against litigation).

Accordingly, Plaintiff’s claim of intentional infliction of emotional distress is barred by the First

Amendment and shall be dismissed.

                                         CONCLUSION

       For the reasons stated herein, Defendants’ Rule 12(b)(6) Motion to Dismiss With

Supporting Memorandum, filed November 16, 2017, (Doc. 19) is GRANTED. Plaintiff’s First

Amended Complaint for Defamation/Defamation Per Se/False Light Invasion of Privacy,

Intentional Infliction of Emotional Distress, Civil Conspiracy, Injunctive Relief (Doc. 15) is

DISMISSED with PREJUDICE.

      IT IS SO ORDERED.


                                                        ________________________________
                                                        KIRTAN KHALSA
                                                        United States Magistrate Judge
                                                        Presiding by Consent




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